                  Case 4:10-cr-00213-JLH                     Document 93           Filed 08/14/12          Page 1 of 7
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                   EAS IRN!      ICT ARKANSAS

                                    UNITED STATES DISTRICT COURT                                                         AUG 14 2012
                                                      Eastern District of Arkansas                         ~~~ES ~RK
          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                                  DEP CLERK
                             v.                                           (For Revocation of Probation or Supervised Release)


       JOHNATHAN WILLIAM WILSON                                           Case No.         4:10CR00213-03 JLH
                                                                          USMNo.           26091-009
                                                                                                  Danny W. Glover
                                                                                                  Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)         General, 8, 2, 7, 12, Special    of the term of supervision.
0
      .
    was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt .
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
General                      Unlawful use of a controlled substance                                           July 16, 2012
8                            Frequenting places where controlled substances are used, sold,
                               distributed, or administered                                                   July 14, 2012
General                      Violation of federal, state, or local law                                        February 5, 2012
2                            Failure to submit monthly report to probation office as directed                 April, 2012
7                            Excessive use of alcohol                                                         January 7, 2012

       The defendant is sentenced as provided in pages 2 through _ ___:7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0909

Defendant's Year ofBirth:         1988

City and State of Defendant's Residence:
   ·             Jacksonville, Arkansas
                                                                                 I. J.eon Holmes, Uojted States Djstrjct Judge
                                                                                                 Name and Title of Judge

                                                                                                   August 14, 2012
                                                                                                          Date
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AO 245D   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet lA

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DEFENDANT:               JOHNATHAN WILLIAM WILSON
CASE NUMBER:             4: 10CR00213-03 JLH

                                                     ADDITIONAL VIOLATIONS

                                                                                                                       Violation
Violation Number              Nature of Violation                                                                     Concluded
12                            Failure to notify probation office within 72 hours of contact with law enforcement   January 7, 2012
Special                       Failure to participate in substance abuse treatment as directed                      May 30,2012
Special                       Failure to make restitution payments as directed                                     May, 2012
Special                       Failure to satisfy $100 special assessment fee                                       May, 2012
                 Case 4:10-cr-00213-JLH                      Document 93          Filed 08/14/12       Page 3 of 7
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment

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DEFENDANT:                  JOHNATHAN WILLIAM WILSON
CASE NUMBER:                4:10CR00213-03 JLH


                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                                                              TIME SERVED


   D The court makes the following recommendations to the Bureau of Prisons:




   D The defendant is remanded to the custody of the United States Marshal.

   D The defendant shall surrender to the United States Marshal for this district:
       D    at   --------- D                   a.m.            D      p.m.   on
       D    as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D    before 2 p.m. on
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                             By ---~~~~~~~~~~~~---­
                                                                                          DEPUTY UNITED STATES MARSHAL
                  Case 4:10-cr-00213-JLH                     Document 93       Filed 08/14/12          Page 4 of 7
AO 245D     (Rev. 09111) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release

                                                                                                  Judgment-Page _ _
                                                                                                                  4 _ of              7
DEFENDANT:                 JOHNATHAN WILLIAM WILSON
CASE NUMBER:               4:10CR00213-03 JLH
                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a

                              TWENTY SIX (26) MONTHS, ending on October 5, 2014

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
                Case 4:10-cr-00213-JLH                      Document 93   Filed 08/14/12   Page 5 of 7
AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet 3B - Supervised Release
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DEFENDANT:               JOHNATHAN WILLIAM WILSON
CASE NUMBER:             4: 10CR00213-03 JLH

                             ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

14) The defendant is released to enter the Recovery Centers of Arkansas residential treatment facility for a
duration to be determined by the probation officer.
15) All general and standard conditions of supervision previously imposed remain in full force and effect.
                   Case 4:10-cr-00213-JLH                   Document 93            Filed 08/14/12           Page 6 of 7
AO 245D    (Rev. 09111) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment- Page        6   of      7
DEFENDANT:                   JOHNATHAN WILLIAM WILSON
CASE NUMBER:                 4:10CR00213-03 JLH
                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                    Assessment                                         Fine                                 Restitution
TOTALS         $    0                                                 $0                                $ 6,641.01- REIMPOSED


D    The determination of restitution is deferred until
     entered after such determination.
                                                        - - -. An Amended Judgment in a Criminal Case (AO 245C) will be

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States IS paid.

Name of Payee                                Total Loss*                         Restitution Ordered                 Priority or Percentage




TOTALS                              $ ______________~0-                       $ ______________~0~


D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the            D fine        X restitution.
     D the interest requirement for the          D fine          D    restitution is modified as follows:



*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before Apnl23, 1996.
                  Case 4:10-cr-00213-JLH                     Document 93             Filed 08/14/12      Page 7 of 7
AO 245D     (Rev. 09111) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments

                                                                                                      Judgment-Page _ _
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DEFENDANT:                 JOHNATHAN WILLIAM WILSON
CASE NUMBER:               4:10CR00213-03 JLH

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D Lump sum payment of$                                       due immediately, balance due

           D not later than                                            , or
           D in accordance with D C,                D     D,     D E,or       D F below); or
B     D Payment to begin immediately (may be combined with                    D C,      D D, or   D F below); or
C     D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. Th,e court will set the payment plan based on an assessment of the defendant's ability to pay.
F    X Special instructions regarding the payment of criminal monetary penalties:
           Beginning the first month of supervised release, payments will be 10 percent per month of the
           defendant's monthly gross income. The interest requirement is waived.



Unless the court has exRressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties ts due during the period of imprisonment. All criminal monetary Renalttes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
